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 6 Attorneys for Counter-Defendant NEMAN BROTHERS & ASSOC., INC.

 7
                          UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9

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12   NEMAN BROTHERS & ASSOC.,                       Case No.: 2:20-cv-11181-CAS-JPR
     INC., a California Corporation;
13
                Plaintiff/Counter-Defendant, NEMAN BROTHERS & ASSOC.,
14                                           INC.’S ANSWER TO
                vs.                          COUNTERCLAIM
15
     INTERFOCUS, INC., a California
16   Corporation, et al.,                     DEMAND FOR JURY TRIAL
                Defendant/Counter-Claimant
17

18

19        Counter-Defendant NEMAN BROTHERS & ASSOC., INC. (“Counter-
20 Defendant” or “NEMAN”), by and through its undersigned attorneys, answers the

21 allegations of Defendant/Counter-Claimant INTERFOCUS, INC.’s (“Counter-

22 Claimant” or “SELECT”) Counterclaim as follows:

23

24                                        PARTIES
25        1.     Counter-Defendant lacks knowledge or information sufficient to form a
26 belief as to the truth of the allegations in paragraph 1, and on this basis, denies those

27 same allegations.

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                       COUNTER-DEFENDANT’S ANSWER TO COUNTERCLAIM
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 1        2.     Counter-Defendant lacks knowledge or information sufficient to form a
 2 belief as to the truth of the allegations in paragraph 2, and on this basis, denies those

 3 same allegations.

 4        3.     Counter-Defendant lacks knowledge or information sufficient to form a
 5 belief as to the truth of the allegations in paragraph 3, and on this basis, denies those

 6 same allegations.

 7        4.     Counter-Defendant lacks knowledge or information sufficient to form a
 8 belief as to the truth of the allegations in paragraph 4, and on this basis, denies those

 9 same allegations.

10                       CLAIM FOR BREACH OF CONTRACT
11        5.     Counter-Defendant realleges and incorporated by reference the answers
12 of paragraphs 1 through 4 hereinabove.

13        6.     Counter-Defendant admits the allegations in paragraph 6.
14        7.     Counter-Defendant admits the allegations in paragraph 7.
15        8.     Counter-Defendant admits the allegations in paragraph 8.
16        9.     Counter-Defendant denies the allegations in paragraph 9.
17        10.    Counter-Defendant admits the allegations in paragraph 10, except the ID
18 numbers about which it does not have sufficient information or knowledge.

19        11.    Counter-Defendant lacks knowledge or information sufficient to form a
20 belief as to the truth of the allegations in paragraph 11, and on this basis, denies those

21 same allegations.

22        12.    Counter-Defendant denies the allegations in paragraph 12.
23        13.    Counter-Defendant denies the allegations in paragraph 13.
24        14.    Counter-Defendant denies the allegations in paragraph 14.
25        15.    Counter-Defendant denies Counter-Claimant suffered any damages.
26

27                              AFFIRMATIVE DEFENSES
28                           FIRST AFFIRMATIVE DEFENSE
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                       COUNTER-DEFENDANT’S ANSWER TO COUNTERCLAIM
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 1                               (Failure to State a Claim)
 2        Counter-Claimant’s Counterclaim fails to state a claim upon which relief can
 3 be granted.

 4                        SECOND AFFIRMATIVE DEFENSE
 5                                    (Unclean Hands)
 6        Counter-Claimant’s Counterclaim and each cause of action within it fail due to
 7 Counter-Claimant’s unclean hands.

 8                         THIRD AFFIRMATIVE DEFENSE
 9                                (Insufficient Evidence)
10        Counter-Claimant’s Counterclaim and each cause of action within it fail
11 because Counter-Claimant has failed to present sufficient evidence for its

12 counterclaims.

13                        FOURTH AFFIRMATIVE DEFENSE
14                                        (Excuse)
15        Counter-Claimant’s material breach of the express or implied terms excused or
16 justified any alleged breach, if any, by Counter-Defendant.

17                     FOURTEENTH AFFIRMATIVE DEFENSE
18                                     (Justification)
19        Counter-Claimant’s counterclaims are barred, either in whole or in part,
20 because Counter-Defendant’s actions in all respects were justified.

21                         FIFTH AFFIRMATIVE DEFENSE
22                            (Failure to Mitigate Damages)
23        Counter-Claimant’s counterclaims are barred, either in whole or in part, by
24 Counter-Claimant’s duty to mitigate.

25                         SIXTH AFFIRMATIVE DEFENSE
26                           (Intervening/Superseding Causes)
27        Counter-Defendant is informed and believes, and thereon alleges, as a separate
28 and affirmative defense to each cause of action that any and all events and
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                      COUNTER-DEFENDANT’S ANSWER TO COUNTERCLAIM
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 1 happenings in connection with the incidents complained of in Defendant/Counter-

 2 Claimant's Counterclaim, and the resulting damages, if any, were proximately caused

 3 and contributed to by the acts or conduct of Defendant/Counter-Claimant and/or by

 4 other or unknown third parties, which acts or conduct were intervening and

 5 superseding causes of the injuries and damage, if any, about which Counter-

 6 Claimant’s Counterclaim complains, thus barring Counter-Claimant from recovery

 7 against this answering Counter-Defendant.

 8                        SEVENTH AFFIRMATIVE DEFENSE
 9                  (Good Faith Attempts and Substantial Compliance)
10        Defendant/Counter-Claimant's Counterclaim and each cause of action and any
11 associated penalties, damages, or attorney's fees or other claims for relief are barred

12 and should be denied because Counter-Defendant acted at all times in good faith and

13 in a reasonable manner in attempting to comply with, and/or actually and

14 substantially complying with, any applicable law.

15                     ADDITIONAL AFFIRMATIVE DEFENSES
16            (Reservation of All Rights to Additional Affirmative Defenses)
17        Counter-Defendant reserves the right to allege additional affirmative defenses as
18 they may become known, or as they evolve during the litigation, and its right to amend

19 this Answer accordingly.

20

21 Dated: Mach 11, 2021                    Respectfully submitted,
22

23                                     By: /s/ Chan Yong Jeong
                                          Chan Yong Jeong, Esq.
24                                        JEONG & LIKENS, L.C.
25                                        Attorney for Plaintiff/Counter-Defendant,
                                          NEMAN BROTHERS & ASSOC., INC.
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                       COUNTER-DEFENDANT’S ANSWER TO COUNTERCLAIM
